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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MARYLAND
                                BALTIMORE DIVISION


 IN RE:

 Anne Kathleen Bickel                             CHAPTER 7
 aka Kathy Bickel,                                CASE NO.: 18-26485

          Debtor(s).


 Deutsche Bank National Trust
 Company, as Trustee for HarborView
 Mortgage Loan Trust Mortgage Loan
 Pass-Through Certificates, Series 2006-9
                               Movant,
 v.
                                                  FILED PURSUANT TO 11 U.S.C
 Anne Kathleen Bickel aka Anne K. Bickel,         SECTIONS 362
          Debtor(s),
 George W. Liebmann,
          Trustee,

                          Respondents.


MOTION SEEKING RELIEF FROM STAY REGARDING PROPERTY AT 1146 ANNIS
           SQUAM HARBOUR, PASADENA, MARYLAND 21122

        Comes now Deutsche Bank National Trust Company, as Trustee for HarborView

Mortgage Loan Trust Mortgage Loan Pass-Through Certificates, Series 2006-9, (“Movant”), by

Counsel, and moves this Honorable United States Bankruptcy Court for relief from the stay

imposed by 11 U.S.C. Section 362(a), and in support thereof, states as follows:

   1.       That this Motion is filed pursuant to 11 U.S.C. Section 362(d) and Rules 4001 and

        9014 of the Bankruptcy Rules, as hereinafter shall more fully appear.

   2.       On July 26, 2006, Anne Kathleen Bickel aka Anne K. Bickel executed and delivered a

        Promissory Note (“Note”) and Deed of Trust (“Mortgage”) securing payment of the Note
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     in the amount of $219,200.00 to Home Loan Center, Inc., dba LendingTree Loans. The

     Mortgage was recorded on August 10, 2006, in Book 18132 at Page 679, in the Public

     Records of Anne Arundel, County, Maryland, with LandAmerica Transnation Title

     Insurance Company, as trustee. The loan was transferred to Movant. True and accurate

     copies of documents establishing a perfected security interest and ability to enforce the

     terms of the Note are attached hereto as Composite Exhibit “A.” The documents include

     copies of the Note with indorsements (if any), recorded Mortgage, Assignment(s) of

     Mortgage, and any other applicable documentation supporting the right to seek the lifting

     of the automatic stay and to foreclose, if necessary.

3. Attached are redacted copies of any documents that support the claim, such as promissory

     notes, purchase orders, invoices, itemized statements of running accounts, contracts,

     judgements, mortgages, and security agreements in support of right to see a lift of the

     automatic stay and foreclose if necessary.

4.      The Mortgage provides Secured Creditor a lien on the real property located in Anne

     Arundel, County, Maryland, and legally described as:

            BEING KNOWN AND DESIGNATED AS LOT NO. 73, PLAT 4,

     ELIZABETH’S LANDING, WHICH PLAT IS RECORDED AMONG THE LAND

     RECORDS OF ANNE ARUNDEL COUNTY, MARYLAND IN PLAT BOOK NO. 73,

     FOLIO 29. THE IMPROVEMENTS THEREON BEING KNOWN AS NO. 1146

     ANNIS SQUAM HARBOUR.

     This property is located at the street address of: 1146 ANNIS SQUAM HARBOUR,

     PASADENA, MARYLAND 21122 (the “Property”).




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5.       The terms of the aforementioned Note and Mortgage have been in default, and remain

      in default, since January 01, 2019 with arrears in the amount of $2,486.29 as of February

      14, 2019.

6.        According to Maryland Department of Assessment & Taxation, the value of the

      property is $225,000.00. See Exhibit “B” which is attached hereto and permissible as a

      property valuation under Fed. R. Evid. 803(8). The payoff as of February 14, 2019 is

      $219,781.27. See Exhibit “C”.

7.      Based upon the Debtor(s)’ schedules, the property is claimed as non-exempt and the

      debtor intends to surrender the property. The Trustee has abandoned the property.

8.        Secured Creditor’s security interest in the subject property is being significantly

      jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

      while Secured Creditor is prohibited from pursuing lawful remedies to protect such

      interest. Secured Creditor has no protection against the erosion of its collateral position

      and no other form of adequate protection is provided.

9.        If Secured Creditor is not permitted to enforce its security interest in the collateral or

      be provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10.       Secured Creditor respectfully requests the Court grant it relief from the Automatic

      Stay in this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the

      lack of adequate protection to Secured Creditor for its interest in the above stated

      collateral.

11.      Once the stay is terminated, the Debtor will have minimal motivation to insure,

      preserve, or protect the collateral; therefore, Secured Creditor requests that the Court

      waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).


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   12.      Secured Creditor has incurred court costs and attorney’s fees in this proceeding and

         will incur additional fees, costs and expenses in foreclosing the Mortgage and in

         preserving and protecting the property, all of which additional sums are secured by the

         lien of the mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees

         and costs, or alternatively, leave to seek recovery of its reasonable attorneys’ fees and

         costs in any pending or subsequent foreclosure proceeding.

         WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) so that the undersigned may proceed to enforce its

security interest in the subject property by: (i) instituting or continuing foreclosure proceedings

against the subject property in state court, (ii) allowing it to take such other actions with respect

to the subject property as are set forth under applicable non-bankruptcy law, and (iii) allowing

the successful purchaser at the foreclosure sale to obtain possession of the subject property, (iv)

that the Order be binding and effective upon the Debtor despite any conversion of this

bankruptcy case to a case under any other chapter of Title 11 of the United States Code; and (v)

the fourteen (14) day appeal period shall be waived.

                 NOTICE OF INTENT TO SUBMIT BUSINESS RECORDS

         The Movant will submit business records as evidence at any scheduled hearing, as

allowed under Fed. R. Bankr. P. 9017 and FRE 902(11). These business records and the

declaration of their maintenance as business records are available for inspection by the adverse

party upon demand.

Dated: March 25, 2019
                                               /s/ David A. Rosen
                                               David A. Rosen
                                               MD Federal Bar No. 14583
                                               RAS Crane, LLC
                                               11900 Parklawn Drive, Suite 310

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                     Attorney for Movant




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 25, 2019, a copy of the Motion for Relief from

Stay thereon has been served upon the following necessary parties in interest, via either

electronic mail or first class mail postage prepaid:


Anne Kathleen Bickel
aka Kathy Bickel
1146 Annis Squam Harbour
Pasadena, MD 21122
Debtor

David L. Ruben
Law Offices of David Ruben
7310 Ritchie Highway
Suite 704
Glen Burnie, MD 21061
Debtor’s Attorney

George W. Liebmann
Liebmann & Shively, P.A.
8 W Hamilton Street
Baltimore, MD 21201
Trustee

DATE: March 25, 2019
                                              By: /s/ David A. Rosen
                                                 David A. Rosen
                                                 Email: darosen@rascrane.com




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